IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF KANSAS
KANSAS CITY DIVISION

INRE: JENNIFER NICOLE HOWELL

Case No. 16-20785
Chapter 7

SUMMARY OF EXHIBITS AND CERTIFICATE OF SERVICE

 

I certify that a copy of the above Motion for Relief and the following document was
mailed via regular USPS mail this June 29, 2016, to Attorney for Debtor, Timothy L. Fielder,
110 E. Forest, P. O. Box 99, Girard, KS 66743; to Trustee, Steven R. Rebein, 8700 Monrovia,
Suite 310, Lenexa, KS 66219; and to the Debtor, Jennifer Nicole Howell, 505 North Summit,
Girard, KS 66743.

1. Note executed November 4, 2005 by Jennifer Nicole Irish, A Single Person in the
original amount of $87,600.00.

2. Mortgage executed November 4, 2005 by Jennifer Nicole Irish, a single person in
the original amount of 87,600.00 and recorded on November 4, 2005 , as Document
number 560-742, in Book 560, Page 742.

Submitted by:

By: /s/ LINDA TARPLEY
LINDA TARPLEY, #22357

SHAPIRO & KREISMAN, LLC

Attorneys for Claimant

4220 Shawnee Mission Parkway - Suite 418B
Fairway, KS 66205

(913)831-3000

Fax No. (913)831-3320

Itarpley@logs.com

Attorney for GNB Mortgage Company

Our File No. 15-008662/jI

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A ee ern teeter ott a—encnmnemnee: fff,

 

NOTE
November 4th, 2005 GIRARD KANSAS
(Rate) (Cina {Surz)

402 W WILSON sremey
GIRARD, KS 66743
Propeny Address]

1. BORROWER'S PROMISE TO PAY
{n renurn for a loan that I have received, ! promise to pay U.S, $87,600.00 is called “Principal*),
plus interest, to the order of the Lender, The Lender is (nis eons i called ?
MORTGAGE COMPANY INC
112 B Sth Stxeot, PO Bos 149, Hozton, KS 66439-0149 .
I will make all payments under this Note in the form of cash, check or money order.
7 understand that the Lender may transfer this Note, The Lender or anyons who takes this Note by wansfer and who is
eatitted to receive payments under this Note ts called the “Note Holder."

2. INTEREST
. FeO rent On unpaid principal until ce full amount of Principal hes beca paid. 1 will pay intrest ata yeatly
rate of 6.3 .

The interest rate required by this Scetion 2 is the rate 1 will pay both before and after any defuult described in Section 6(B)

of this Note.

3. PAYMENTS

(A) Time and Place of Payments

T will pay principal and interest by making a payment every month,

1 will make my monthly payment on the 1st day of each month beginning on Janzary 01, 2006 1 will
make thesa payments every month until I have paid all of the principal and interest and any other charges desctibed below that I
may owe under this Note, Exch monthly payment will be epplied ax of its scheduted due date and will bo applied to interest

before Principal. If, onDecember 01, 2035 + ) stil] owe amounts under this Note, I will Pay those amounss in fall on
that date, which is called the “Maturity Date,” .
I will make my mosthly payments 2t112 E 8th Strent, PO Box 149
Horton, KS 66439-0149 or at a different place if required by the Note Holder.
(8B) Amount of Monthly Payments
My monty payment will be in the amount of U.S. $ 846.51 .
4, BORROWER'S RIGHT TO PREPAY .
I bave ths right to make payments of Principal at any time before they aro due. A ment of is knowa as a
“Prepayment." When I make & Prepaytsent, T wil gall Note Holder ba writing ta Yee mosy dat desiguaie &
payment as a Prepayment if | have not made all the monthly payments due under the Note.

I may make a full ayment or partial Prepa without Paying e Prepayment charge, The Nove Holder will uso my
; ae F'Pincpal tht T owe wader tis Note lowever, the Note Holder may apply my

Prepayment to the accrued and unpaid interest on the Prepayment amount, befere appl to reduce the
pal amount of the Nota. If] make a partiat Prepayment, there will be no changes in the dus date or a the anveut of or
monthly payment unless the Note Holder agrees in writing to those changes,

MULTISTATE FIXED RATE NOTE-Singta Family-Fennis Maaifeaddls ttee UNIFORM INSTRUMENT

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EXHIBIT /

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as a partial Prepayment,
6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

Uf the Note Holder bas not received the full amount of any monthly payment by the end of 15 calendar days
ar the dave it is due, ¥ will pay a late charge to the Note Holder. The amount of the charge will be 4.00 | % of
my averdue payment of principal end interest, I will pay this late charge promptly Gut only once on each late payment.

(B) Defasit

If Ido not pay the full amount of each monthly payment on the date it is due, I will be in default,
{C) Notice of Default

delivered by other means,

(D) No Waiver By Note Holder
Brea if, st a time whea I am in default, the Note Holder does cot require ma to pay immediately in full as described

above, tha Note Holder will still have the right to do so if em in defeultat a btar come,

(©) Payment of Note Holder's Costs and Bxpenses
If the Note Holder has required me (o pay immediately in full as described above, the Note Holder will have the right to

be paid back by me for all of its costs and expenses in enforcing this Nots to the exteat not prohibited by applicable law, These
expenses include, for example, reasonable attorneys’ fees,

7, GIVING OF NOTICES

Unless applicable law requires a different cethod, any notice thu must be given to ae under this Note will be given by
Eriivering it or by mailing it by first class nail to me at the Property Address above or at a different address if | give tha Note
Holder a notice of my different address.

Any notice that oust be given to the Note Holder under this Note will be given by delivering i or by mailing it by first
class mail to the Now Holder at the address stated in Section 3(A) above or at a different address if] arm given a notice of that

different address,

8 OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each parson is fully end pareonally obligated to keep all of the promises mads in
this Nota, including the promise t pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things, Any person who takes over these obligations, including the obligations of a guarantor, surety

9. WAIVERS .
1 and say other person who has obligations under this Note waive the rights of Presentment and Notice of Dishoncr.

"Presentment" means the right to require the Note Holder to demand payment of emounts due. "Notice of Dishonor® means the
right to require the Note Halder to give notice to other persons thet amounts dus have net been paid,

Porn uo1
BAN cozon Peco ?ots tndetss,

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10, UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same date a3
this Note, protects the Note Holder from possible losses which might result if? do not keep the promises which I make fo this
Note. That Security Instrument describes how and under what conditions I may be required to make immediate payment tn fufl

of all amounts I owe under this Note. Some of thoze conditions are described as follows:

¥f all OF any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natusal person and @ beneficial interost in Borrower is sotd or transferred) without Lender's prior weitten
consend, Leader may require immediate payment in full of all sums secured by this Security Instrument,
However, this option shell not be exercised by Lender if such exercise is prohibited by Applicable Law,

If Leader exercises this option, Lender shall give Borrower aotice of scceleraifon, ‘The notice shall
provide a period of not tess than 30 days from the dafe the notice is given In accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lendor may Invoke any remedies perrained by this Security

instrument without further notices or damand on Borrower,

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED,

 

 

 

 

 

 

 

 

 

 

 

  
    

(Seal)
«Borrower
(Seal) (Seal)
-Borrawer eBerrawer
(Seal) (Seal)
Borrower Borrower
(Seal) (Seal)
Pay to the Order of Bomowes Borower
Without Recourcs.
Datedthis_._. 9 day of ’ se (Sign Original Onty}
Liz Alkhateb, President
GHB Mortgage Company tno.
ZB;8n wan Pape Sot S Form 3200 9/01

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Abeteet ine. STATE OF KANSAS
= (CRAWFORD COUNTY)

Recorded at .2205- pam

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Return To: GHB MORTGAGE COMPANY INC. .
112 ©. STH STREET, YO BOX 249, RORTON, KS 66439-0249

Prepared By: ae

{Spaco Above This Line For Revording Data} i

MORTGAGE

 

 

DEFINITIONS °
Words used in multiple sections of this document sre defined below and other words aro defined in ‘
Sections 3, 11, 13, 18, 20 and 21. Certain rules rogerding the usage of words used in this document are
also provided In Section 16,

(A) “Security Instrument” means this document, which is dated Noverbar éth, 2005 ’
together with all Riders to this document.

(8) “Borrower” is JENNIFER WICOLE IRISH

A SINGLE PERSON . p

Borrower is the morigagor under this Security Instrument.
(C) "Leader" isGNBS MORZGASE COMPANY Inc.

Leader isa Moxtguge Company
organized and existing under ue laws of Kansas

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EXHIBIT

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Lender's address is 112 B. 8cH STREET, HORTON, KS 66439

Lender is the mortgagee under this Security Instrument,

(D) “Note” means the promissory note signed by Borrower end dated Novembar ath, 2005 .
The Noto states that Sorrower owes Lender

Zighty Soven thousand Six Hundred and 00/100 Dollars
(U.S. $67,600.00 ) plus interest. Borrower bas promised to pay this Gebt in regular Pericdic
Payments and to pay the debt in full not later than Decanber 1st, 2035 .

(©) "Property" means the property that is described below under the heading “Transfer of Rights in the

Property.

(F) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and all sums dvs under this Security Insrrument, plus interest,

(G) “Riders means al) Riders to this Sceurity Instrument thet are executed by Borrower. The following
Riders are to be exeeuted by Borrower (check box es epplicabte}:

[7] Adjustable Rate Rider [_] Condominium Rider Second Home Rider
[= Batoas Rider Planned Unit Development Rider {_] 1-4 Family Rider
VA Rider

Biweekly Payment Rider CF othert) {specity)
(FH) “Applicable Law" means all comtolling applicable federal, state and tocal statutes, regulations,
ordinances and sdministrative roles and orders (that have the effect of law) as well as all epplicable final,
non-eppealable judicial opinions.
@ “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium asseciation, komeowzers
sssociation or similar organization,
© “Bieetronte Funds Teansfes* means ony transfer of funds, other than a wansection originated by
check, ¢raft, or similar paper instrument, which ‘is initiated through an electronic terminal, telephoafe
instrument, computer, or taagnetic tape so as to order, instruct, or authorize 2 financial instirution co dedit
or credit an account, Such tenn includes, but Is not limited to, point-of-sale transfers, automated telfer
machine transections, transfers initiated by telephone, wire transfers, and automated clearinghouse
wansfors,
(K) "Escrow Items” means those items thet are described in Section 3.
QL) “Miscellancous Preveetis* means any compensation, settlement, award of damages, or proceeds pald

value and/or condition of the Property,
() "Mortgage Insurance” means insurance protecting Lender against the poopayrent of, or default on,
the Loga.

®) "Periodic Payment” means the tegularly scheduled amount due for (i) principal and interest under the
Nove, plus (il) any emounty under Section 3 of this Security instrument,

(0) "RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
tmplenreating regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from ume to
time, or any additional Or suocessor legislation or regulation thet governs the same subject matter, As used
in this Security lnstruinent, “RESPA* refers to all requirements and restrictions that are imposed in regard
to a “federally related mortgage loan® even if the Loen does not qualify as a “federally related mortgage

foan® under RESPA.
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®) “Successor in Interest of Borrower" means any party that has taken title to the Propesty, whether or
aot that party has assumed Borrower's obli ions under the Note and/or this Security Enstrument,

TRANSFER OF RIGHTS IN THE PROPERTY .

This Security Instrument secures to Lender: (1) the repayment of the Loan, acd all renewals, extensions

and modifications of tho Note; end (ti) the performance of Borrower's covenants and agreements under

this Security Instrument and the Note. For this purpose, Borrower mortgages and warrents to Lender

and Lender's successors and assigns the following described property localed in the

Register of Deads of Crawford County - 037 :
(ype of Recording lurisdiciton) [Name of Reconiing Jurisdiction)

LOTS NUNERED SIXTY FIVE (65) AND SYxTY Srx (66) IN WINSTON-PARK ADDITION,

A SUBDIVISION OF BLOCK XEN (10) HULL'S ADDITION TO SHE CITY oF GIRARD,

KANSAS, ACCORDING TO THE RECORDED PLAT THEREOF,

Parcel ID Number: which currently has the address of
401 W WILSON STREET [Serees]
GTRARD {Ciy], Kensas 66743 (Zip Code?
(“Propesty Address"):

TOGETHER WITH all te improvements bow or hereafter erected on the property, and all
cascments, appurtenances, and fixtures now or hereafter a pert of the property. All replacements end
additions shell also be covered by this Security instrument. All of the foregoing is refarred to fo this
Security Instrument as the * ”

BORROWER COVENANTS that Borrowar is lawfully selsed of tho estate hereby conveyed and has
the right to mortgage, grant and convey the Propeny and that the Property is unencumbered, except for
ecacumbrances of record, Borrower warrants and will defend generally the thte to the Propesty against all
clains and demands, subject to eny encumbrances of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use end non-uniform
covenants With limited variations by jurisdiction to constitute a uniform security Instrument covering real

UNIFORM COVENANTS, Borrower and Lender covensnt and agree as follows:

« Payment of Principal, Interest, Escrow items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepsyment charges and [ate charges due under the Note. Borrower shall also pay funds for Escrow liems
purtvant to Section 3, Payments due under the Note and this Security Instrument shall be made In U.S.
currency, However, If any check or other instrument received by Lender a3 paymont under tho Note or this

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Security Instrument is returned to Lender unpaid, Lender may require that any or al) subsequent payments
Gee wader the Now and this Security Instrument be mado in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c) cenified check, bank check, treasurer's check or
cashiers check, provided any such check is drawa upon an institution whose deposits are insured by
federal agency, instrumentality, or emity; or (d) Electronic Funds Transfer,

Payments are deemed received by Leader when received at the location designsted in the Note er at
such other location as may be designated by Lender in sccontance with the notice provisions in Section 15.
Lender may refuro any payment or partlal payment if the payment or partial payments are insufficient to
bring the Loan current, Lender may accept iny payment of partial payment insufficient to bring the Loan
carrent, without waiver of any rights hereunder or prejudice to its eights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Foricdio Payment is applied as of its scheduled due date, then Lender need sot pay
interest on unapplied funds, Lender may hold such unapplled funds until Borrower mekes payment to bring
the Loan current. 1€ Borrower docs not do so within 8 reasonable pertod of time, Lesder shall elther apply
such funds or return them to Borrower, If not spplied earlier, such funds will be applied to the outstanding
principal balance under the Note icuaedlately prior to foreclosure, No offset or claim which Borrower
might have cow or in the fucure against Lender shall relieve Borrower from making payments dus under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrument,

2. Application of Payments or Proceeds. Except as otherwise described to this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal die under the Noto; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due, Any remaining amounts
shall be applied first to fate charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Now.

If Lender recelves a payment from Borrower for 2 delinquent Periodic Payment which includes a
sufficient amount to pay any tate charge dus, the payment may be applied to the delinquent payment and
the tate charge, If more than ons Periodic Payment \s outstanding, Lender may epply any payment recelved
from Borrower to the repayment of the Periodic Payments If, and to the extent thet, each payment can be
paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Perfodic Payments, such excess may be applied ¢o any late charges dus, Voluntary prepayments shall
bs applied first to any prepayment charges and then as described in the Note,

Any appltcation of payments, insurance proceeds, or Miscellancous Proceeds to principal dus under
the Note shell not extend or postpone the due date, or change the amount, of the Periodic Payments,

3. Fonds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
wader the Noto, until the Note is pafd in full, a sum (the “Funds") to provide for payment of amounts due
for: (a) taxes and asseasments and other froms which can attain priority over this Security Instrument as a
Hen or encumbrance on the Property; (b) teaschold payments or ground tenis on the Property, if any; (¢)
premiums for any and al? insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if ony, or any sums payable by Borrower to Lender In licu of the payment of Morigage
Insurance premiums in accordance with the provisions of Section 10, These {tems are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may sequiro that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shal] be an Escrow Item. Borrower shall prompily furnish to Lender all notices of amounts to
te paid under this Section. Borrower shall pay Leader the Funds for Escrow Icems untess Lender waives
Borrower's obligation to pay the Funds for any or all Escrow Items. Lender May waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be
io writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts

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Borrower's obligation to make such payments and to provide receipts shall for all Purposes be deemed to
be a covenant ang agreement contained In this Sceurity Instrument, ss the phrase “covenant and agreement”
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursvant to a walver, and
Borrower falls to pay the emount duo for en Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender eny such
amount, Lender may revoke the walver as to any cr all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such emounts, that are then requised under this Secticn 3.

Leader may, at any time, collect and hold Fonds in an amoum (2) sufficient to pormit Leader to apply
the Funds at the time specified under RESPA, and (©) not to exceed the maximum amount a lender can
require under RESPA, Lender shall estimate the mmoum of Funds due cn the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in sccordance with Applicshle
Law.

Tee Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or eatity (including Lender, if Lender is an instintton whese deposits are so insured) or in
any Federal Home Loan Bank, Lender shall apply the Funds 10 pay the Escrow Items no later than the time
specified under RESPA, Lender shall not charge Borrower for holding and eyplying the Funds, annually
analyzing the escrow eccount, or verifying tke Escrow Items, untess Lender pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a charge, Unless an agreement Is made tn writing
of Applicable Law requires interest to be pald on the Funds, Lender shail not be required to pay Borrower
any interest or earnings on ths Fends. Borrower and Lender can agree in writing, however, that interest
shall be pald on the Funds, Lender shall give to Borrower, without charge, an annual accounting of the
Punds es required by RESPA.

If there is a surplus of Funds held in escrow, a3 defined under RESPA, Lender shall escount to
Borrower for the excess funds in accordance with RESPA, If there is a shortage of Funds held in escrow,

tacathly payments, If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shail pay to Leader the amount necessary to make
Up tho deficiency in eccordance with RESPA, but in uo more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Leader shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens, Borrower shall pay all taxes, Ssseasntents, charges, fines, and impositicns
auributebte to the Property which can attain priority over this Security Instrument, leasehold payments or
ground reats on tho Property, if any, and Community Association Dues, Fees, end Assessments, if any. To
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any tien which has priority over this Security Instrument unless
Borrower: (2) agrees in writing to the payment of the obligation secured by the lien in a manner scceptable
to Lender, but only so tong as Borrower is performing such agreement; (b) contests the Hea in good faith
by, or defends against enforcement of the lsn in, legal proceedings which in Leader's opinion operate to
prevent the enforcement of the lien while those proceedings ere peading, but only unzil such
axe concluded; or (c) secures from the holder of the [len en agreement satisfactory to Lender subordinating
ths Hea to this Security Instrument. If Lender determines that any part of the Property is subject to a ica
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the

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len, Within 10 days of the date on which that notice Is given, Borrower shall satisfy the Wea or take on or
tnore of the actions set forth above in this Secion 4,

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan,

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against toss by fire, hazaris included within the tem “extencled coverage,” and any
otter hazards including, but not limited to, earthquakes end flocds, for which Lender requires insurance,
This insurance shall be maintained in the emounts (including deductible fevels) and for tho perfods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The insurance cartier providing the Insurance shell be chosea by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shell sot be exercised wnreasombly. Leader may
require Borrower to pay, in connection with this Loan, elther: (a) a one-time charge for flood zone
detennination, certification and tacking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remapplags or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Menagemant Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

if Borrower falls to mainiain any of the coverages described above, Lender may obtain insurance
coverage, al Lender's option and Borrower's expense. Lender fs under ao obligation to purchase any
particular typs or amount of coverage. Therefore, such coverage shall cover Leader, but might or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or Hlability and might provide greater or lesser coverage than was previously in effect. Borrower
scknowledges that the cost of the Insurance coverage so obtained might significantly exceed the cost of
. {nsurance that Borrower could have obtained. Any amounts disbursed by Lender under thls Section 5 shall

become additional debt of Borrower secured by this Security Instrument, These amounts chall bear interest
ar the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disepprove such policies, shall include a standard mortgage clause, end shall name Lender gs
mortgagee and/or as an additional loss payee. Leader shall have the right to hofd the policies and renewal
certificates. If Lender requires, Borrower shall prompily give to Lender all recolpts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not ovberwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional 109s payee,

In the event of loss, Borrower shall give prompt notice to the Insurance carsier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Untess Lender end Borrower otherwise agree
in writing, any insurance proceeds, whether or cot the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is aot lessened. During such ropair and restoration period, Lender shall have the right to
hold such insurance proceeds until Leader has bad an opportunity to inspect such Property ¢o easure the
work has been completed to Lender's satisfaction, provided thet such inspection shall be undertaken
promptly, Lender may disburse proceeds (or the repalrs and restoration in a singte Payment or in a seriss
of progress payments as the wosk Is completed, Unless an agreement Is made in writing or Appiicabic Law
requires interest to bs paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or camings on such proceeds. Fees for public adjusters, or other third pariles, retained by
Bonower shall not be paid out of the Insurances proceeds and shall bs tho sols obligation of Borrower. If
the restoration or repair is not economically feasible or Lender's security would be tessened, the insurance
proceeds shatl te applied to the sums secured by this Security Instrument, whether or not then due, with

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the excess, if any, paid to Borrower, Such insurance proceeds shall be applied in the order provided for in
Section 2,

If Borrower sbandons the Property, Lender may file, negotizte and settle any available insurance
cleim and related matters, If Borrower does not respond within 30 days to a notice from Lender that the
tnswanve carrior has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice ts givea. In elther event, or if Lender acquires the Propeny wider
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's Sights to any insurance
proceeds in an amount uot to exceed the amounts unpaid under the Note or this Seewsity Instrument, and
©) any other of Borrower's rights (other thin the right to any rofund of uncarnod premlums paid by
Borrower) under ail insurance policies covering the Propesy, insofur as such rights are applicable to the
coverage of the Property, Lender may use ths insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6, + Borrower shall occupy, establish, and use the Property as Borrower's principal
Fesidence whihin 60 days after the execution of this Security Instrumzat and shall contfoue to cccupy the
Property as Borrower's principal residence for at least ons year after the date of occupancy, unless Lender

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste oa the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value doe to its condition, Untess fs is
Getermined pursuant to Section 5 that repair or restoration [s nol economically feastbic, Borrower shail
promplly separ the Property If damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are pald in connection with damage to, or the taking of, the Property, Borrower
shall be respqnsibie for repairing or restoring the Propeny only if Lender has released proceeds for such
Purposes. Lender may disburse proceeds for the repairs and testeration in a single payment or In a series of
progress payments a3 the work is completed. If the insurance or condemnaticn proceeds are not suffictent
to sepalr or restore the Property, Borrower Is not relieved of Borrower's obligation for the completion of
such repair or restoration.

Lender or (ts egent may make reasonable cntries Upon and inspections of the Property. if it has
Teasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the thme of or prior to such an Intertor inspection specifying such reasonable canse.

8. Borrower's Loan Application, Borrower shell be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave caaterially false, misleading, or Inaccurate information or statements to Lender
(or falled to provide Lender with material Information) in connection with the Loan. Material
representations include, bit are not Limited to, representations concerning Borrower’s occupancy of the
Property as Borrower's principal residence,

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. if
(a) Borrower falls to perform the covenants and agreements contained in this Sceurity Instrument, (b) there
is a legal proceeding that might significantly affect Lender's Interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfelnire, for
enforcement of a lica which may stain Prlority over this Security Instrament or to caforce laws or
regulations), or (c).Borrower has abandoned tho Property, then Lender may do and pay for whatever is
reasonable or appropriate to protecs Lender's interest In the Property and rights under this Secusity
Instrument, including protecting and/or assessing the valve of the Property, und securing and/or repairing
the Property. Lender's actions can include, tut aro not lniited to: (a) paying any sums secured by a lien
which has priority over this Security instrument; (b) appearing in cour; and (c) paying seasonable

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antomeys’ fees to project its Interest in the Property and/or rights under thls Security Instrument, inctudin
its secured position in a bankruptcy proceeding. Securing the includes, but is mot fimited eo”

the Propery to make repairs, change locks, replace or board up doors and windows, drain water
on or OF Along Leng a ces stations or dangerous condivons, and have wits waned
on or o! 7 gay oe oblige talon under thls Section sears Go Gebbiny parvo? do 20 and isnot
under any oro on 50. agreed that Lender incurs co iP B05 or
setions @ authorized under this wy Le 9. seca ay taking ony

iy amounts disbursed by Lender under this cn 9 shall tecoms additional dob: of Borrower
secured by this Security Instrument. Theso emounts shall bear interest st the Note rate from the date of
disbursement and shall be payeble, with such interest, upon notice from Lesder to Borrower requesting
payment, .

If this Security Inswrument fs on a leasehold, Borrower shall ly with all the provisions of the
lease. If Borrower anqulres fee tile to the Property, the leasehotd and the foe tile shail hot ‘meee ontes
Lender agrees to the raerger in writing.

10, Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage insurance in effect. If, for any reason,
the Mortgage Insurance coverage sequired by Leader ceases to be avallable from the mortgage insurer thar
previously provided such insurance and Borrower was required to make separately designated payments
toward tho premiums for Mongage Insurance, Borrower shall pay the premiums requized to obtain
coverage substantially equivalent to the Mortgage Unsurance proviously in effect, at a cost subsantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effeet, fom an alteruste
morgage tasurer selected by Lender. If substantially equivatcat Momgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to bo in effect, Lender will accept, use and retain theso
Payments &$ 8 con-refundable loss reserve in tleu of Morgage Insurance. Such loss reserve shall ba
cea-tefundable, notwithstanding the fact that the Loan is ultimately pald in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve, Lender can no longer require loss

tsaintein Mortgage Insurance in effect, or to provide a non-refundable Joss reserve, until Lender's
in ecconfance with any written agreement between Borrower end
Leader providing for such termination or until termination is required by Applicable Law. Nothing in this
Seotica LO affects Borrower's obtigation to pay intarest at the rate provided in the Note,

Mortgage Insurance refmburses Lender (or any entity that purchases the Note) for certain losses ft
may loour if Borrower does not repay the Loan 33 agreed, Borrower {s not a party to the Mortgage

Mortgage insurers evaluate thelr total risk on al) such insurance In fores from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses, These agreements
these agroemenls, These agreed one ee ae ane insures and the other party (or parties) to

agreements, agreements may Mmortgaga Insurer to payments using any souree
of finds thet the mortgage insurer may have available (watch may include funds obtained from Momgege

).

As a result of these agreements, Lender, any purchaser of the Noto, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or tedizectly) amounts thet
eetive from (er might be characterized 2s) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses, If such agreement
provides that an affilizte of Leader takes a share of tho insurer’s risk in exchange for a share of the
premiums pald to the insures, the arrangement is often termed "captive reinsurance.” Further:

(a) Any such Sgrecments will not affect the amounts that Borrower has agreed to pay for
Morignge Insurance, or any other terms of the Loan, Such agreements will not Increase the amount
Borrower will owe for Mortguge Insurance, and they will not entitle Borrower to any refund.

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@) Any such agreements will not affect the tights Borrower has - If an or Tae pest to the
Mortgage Insurance under the Homeowners Protection Act of 1098 vw other Law. ese rights
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vo the e Bnsuratce nated automa and/or a
refund of any Mortgage Insurance premiums that were unearned at the time of ane cancellation or

11. Agsigunent of Miscellaneous Preeceds: Forfeiture, All Miscellaneous Proceeds are hereby

ns lt Prepay dane oa Marts Pree =
ag aneoUs shall be applied to restoration or of
the Propeny, ifthe restoration or repair is economlcally (easible and Lentor's serene ne
During such repair and restoration period, Leader shall have the right to hold cvek Misecilancous Proceeds
Tail] Landes has bed on o Pee 9, inspect such Propeny to ensure the work bas been completed to

be lessened, the Miscellaneous Proceeds shall be ap; lied to the sums secured by this
Whether or not then duc, with the excess, if any, paid to Borrower. Such Miscellaneous Preece es
spplted in the order provided for in Section 2,
In the event of a tort coking, destruction, or loss in value of ths Property, the Miscellaneous
Dr caneas ll be applied to the sums secured by this Securly Insirument, wheuhar Of not tes ae eee
the excess, if any, paid to Borrower.
in the event of a pantal taking, destruction, or loss in value of the Property in which the fair market
valve of the Propeny immediately before the partial taking, destruction, or toss in value is equal to or
Greater then the amount of the sums secured by this Security fnstrument immediately before the partial
taking, on, or Joss ip value, untess Borrower and Lender otherwise agres in writing, the sums
secured by this Instrument shell be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following frectlon: (a) the total amount of the sums secured immediately before the
taking, destruction, or loss in value divided by (b) the fair market value of the Propeny
before the partial taking, destruction, or loss in value, Any balance shall be id to Borrower,
Fe ee ea > pais! aking, destruction, or loss in value of the Property in the fair market
value of the Property lately before the destruction, or loss in vatue is less than the
amouat of the sums secured immediately before the partial taking, destruction, or loas [p value, unless
eles and Lender otherwise ogres In writing, the Misceltancous Proceeds sholl be applied to theo,
secured by this Securi Instrument whether or not the sums are then due,

sums secured by this Securi Instrument, whether or not then due, osiag Party” means the third party
tt owes Borover Mizalaasus Powcls oe any eg ore Faye ed
crower shalt ee proceeding civil or criminal, is begun that, in
is any action or » whether or . Bua
Lender's Judgment, could result In forfeiture of the Property or other matertal impairment of Lendcr's
seatt lo the Property or rights under thls Security instrument. Borrower ean eure such a default cod it
See D has ae tee as provided in Section 19, by causing the action or proceeding to be
a
impairment of Lendor's interest in the Propert or bts under this Security Instrument. The proceeds of
sy award or eal for damages tht ao atest is inpaleest of Leader's intel es Pro
are to Leader, :
All Miscellaneous that are not spplied to sestoration or repair of the Propeny shall be
Sppiled in the order provided for in Section 2.

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12, Borrower f Not Released; jerbetrance By mardty Not a Walver. Extension of the time for
paymicat on nization o SUMS sccured Seeuri instruxnent granted Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release th tkilly of Lorowen

f
amortization of the sums secured by this ity Instrument by reason of
Borrower or tay Successor to iinest of Barter her ee by Lender in exercising any right er
remedy including, without limitation, Leader's eccepiencs of payments from third persons, or
Successors in Interest of Borrower or tm amounts leas than the amount then duo, shall nor be a waiver of ce
Pr doa a re a Cp em
5 and Sev: bys rs and Assigns Bound. Borrower covenants
and agrees thar Borrower's obligstions and ! ity shal? be Joins and soverl, However, any Borrower who
Seay Intron ony to mega, grant sad ys cae ase 6 contig ts
¥ to mortgage, grant and convey the on $s icterest in the Pro; under
terns of this Security lastrumeats (6) not yesooalie obligated epay the sane deed this Security

lostrument; and (c) agrees thet Lender and any other Borrower can agree to ext forbear or
mule any secommedations with regard to the terms of this Security Instrument OF the Now ae en
ignor’s consent,

Subject to the provisions of Section 18, any Successor tn Interest of Borrower who essumes
Borrower's obligations under this Security fastrement in writing, and is spproved by Lender, chall cbtain
all of Borrower's rights and benefits under this Security Instrument. Borrower shall not bs released from
: wae he eatlons and} Mebiity under rr tired Instrument untess Lender agrees to such release in

- The covenants agreements of this Security Instrument shall d (except as
Section 20) and benefit the successors and assigns of Lond . mew

14, Loan Charges. Leader may cherge Borrower fees for services performed in connection with
Borrower's default, Pr je, Burposo of protecting Lender's interest in the Property and rights under this
Security Instsument, including, but not limited to, attommeys' fees, property inspection and valuation foes.
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If the Loan fs subject to a law which sets maximum loan charges, and that law is finall inteypreted so
that the interest or other Ioan charges collected or to be collected in connection with the Loan encoed the
permitted limita, then: (a) any such Ioan charge shell be reduced by the amount necessary to reduce the
charge to the perraltted timlt; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the i
owed under the Note or by making a direct payment to Borrower. If a refund reduces pal, the
reduction will ba treated as a partial prepayment without any prepayment cherge (whethor or not a
prepayment charge is provided for under the Note). Borrower's poceptance of any such refund meds by
of fash Cronhy Borrower will constitute a waiver of any right of ection Borrower might have wising out

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15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower wien mailed by first class mall or when actually delivered to Borrower's
notice address if sent by other means. Notice to any ane Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise, The notice address shall be the Property Address
unless Borrower bes designated a substitute notice addross by notice to Leoder. Borrower shall promptly
notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified procedure.
There usy be only one designated notice address under this Security Instrument at any ons time. Any
notice to Lender shall be given by delivering it or by mailing i by first class mail to Lender's address
stated herein unless Lender has designated another address by notices to Borrower. Any notice in
revived by Le fre any Hotoo routed by tis Seca ae ae tea Lena ust etuly
received by Leader. If any notice required by this Secarity Instrument required under
Law, tho Applicable Law sequirement wil) sailsfy the corresponding requirement under this Security

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16. Governing Law; Severability; Rules of Construction, This Securiry instrument shall te
governed by federal law and the law of the jurisdiction in which the Propeny is tocated. All rights and
Saw. Apptlcable Liar ake cement are subjct to any requirements end limitstions of
Applicable Law. Applicable Law might explicitly or Uy allow the parties to agree by contract or It
ght be allent, but such silence shall nor construed a3 a prebibition against agreement by contrest. In
the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall cafes Cites provisions of this Security Instrument or the Note which can be
given effect without the conflicting pro .

As used in this Security instrument: (2) words of the masculine gender shoal] mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean end
inolude the plural and vice versa; and (c) the word “may" gives sole discretion without any obligation to

any action,

17. Borrower's Copy. Borrower shall be givea oue copy of the Note end of this Tnstrumest,

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
‘Interest in tho Property* means any tegal or beneficial lotcrest in the Propeny, including, but ot limited
to, those beasficial interests transferred in a bond for deed, contract for deed, installment safes contract or
escrow agreement, the intent of which is the transfer of tile by Borrower at a fanuxe date to a purchaser,

If all or any part of the Property or any Interest in the Property is sold or transferred (or If Borrower
is not a natural person and a beneficial interest in Borwower is sold or trensferred) without Lender's prior
weitten consent, Lender may require immediate payment in full of all sums secured by this Sccurity
Insrumeat, _ However, this option shell not bo exercised by Lender If such exorcise is prohibited by

rplicable Law.

If Lender exercises this option, Lender shall give Borrower notice of ecceleration, The notice shall
provide a period of not fess than 30 days {com the date the notice fs given in accordance with Section 1$
tee SEs prlor to he explintan of ts Fea, Cone oe aU Borower fils pty

sums prior to the lon o: pest mai 0 remedies

Instrument without? further notice or demend an Bonower, ad

. Borrower's Right to Relustate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontlazed at any tine
or to the earliest of: (a) five days before sale of the Property pursuant to Section 22 of this Security

3 (b) such other period as Applicable Law might specify for the termination of Borrower's right
to relnstate; or (c) entry of a judgment enforcing this Security lnostrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note
as if no acceleration had cocurred: (b) cures any default Of say other covenants or agreements: (c).pays all
expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attomeys'
fees, property inspection and valuation fees, and other fees incurred for the B purpose of protecting Lender's
interest in tho Property and rights under this Security Instrument; ond (4) such action a3 Lender may
reasonably require to assure that Lendes‘s inerest In tho Property ond rights under this Security
Instrument, and Borrower's obligation to pay the sums secured by this Securiy Instrument, shall contlous
unchanged. Lender may require thet Borrower pay such reinstatement sums and in ons or more of
the following forms, as selected by Leader: (a) cash; (b) money order; (c) ed check, bank check,
treasurer's oheck or cashier's check, provided any such check is drawn upon an institution whose deposits
are insured by a federal agency, instrumentality or entity; or (4) Electronic Funds ‘Transfer, Upon
reinstatement by Borrower, this Security Instrument end obligations secured hereby shall remain fully
effective as if no acceleration hed occurred. However, this right to reinstate shall not apply in the case of

eee a0. Sule of Note Cheng f Loan Sorvicer; Notice of Gri N interest {i
. Sale o: 5 eo otice o evance. The Note or a parti n

the Note (together with this Security Instrument) can be sold One OF mose thes wihes riot wine in
Borrower. A sale might result in a change in the entity (own as the “Loan Servicer that collects
Periodic Payments due under the Note and this Sccuri Instrument and performs other mort foaa
servicing obligations under the Note, this Security tnstrument, and Applicable Law, These also t be
ons of more changes of the Loan Servicer unrelated to a sate of the Note, If there is a change of the Loan
Servicer, Borrower will be givea written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and eny other information RESPA

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Fequires in connection with a notice of transfer of servicing, If the Note {s sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and ars nat
assumed by dip Note purchaser untess otherwise provided by the Note purchaser,

Neither Borrower nor Lender may commence, joln, or be joined to any judicial action (as eltber an
individoal litigant or the member of a class) chat arises from the other party's actions pursuant to this
Security Instrument or that alleges that the other patty hus breached any provision of, or any duty owed by
season of, this Security Instrument, until such Borrower or Lender has octified the olker party (with suck
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time pasiod which must elapse before certain actlon can be tekeo, that tims
period will be deamed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower purstant to Section 22 and the notice of ceceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20. :

21. Hazardons Substances. As used in this Section 21: (a) "Hazardous Substances® sre those

substances dofined as toxle or hazardous substances, pollutants, or wastes by Eavironmental Law and tho
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(>) "Environmental Law" means federal laws and laws of the jurisdiction where the Property 1s located that
relate to health, safety or environmental protection: (c) “Environmental Cleanup" includes any response
ection, remedial action, or removal action, as defined in Eovironmenta) Law; and (@) an “Environmental
Condition” means a condition that can cause, contribute to, or otherwise tigger an Environmental
Ch

» Besrower shall not cause or permit the presence, use, disposal}, storage, or release of any Hazardous
Substances, or threatea to release any Hazardous Substances, on or in the Property. Borrower shall cot do,
nor allow anyons else to do, anything affecting the Property (a) that ts in violation of say Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that edversely affects the value of the Propesty. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of smal] quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shalt promptly give Lender writen notice of (a) any investigation, claim, demand, lawsult

or other ection by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower hos sctual imowledge, (b) eny
Baviroantental Condition, including but not limited to, any spilling, leaking, discharge, release or threal of
release of any Hazardous Substance, and (c) any condition caused by tho presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower teams, or is notifled
by any governmental or regulatory authority, or any privaic party, that any removal or other reatediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial sections in accordance with Eavironmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender farther covenant and agree as follows:

22, Acceleration; Remedies, Lender shall give notice to Borrower prior ta acceleration foltowing
Borrower's breach of any covenant or agreement fn this Security Instrument (bot not prior to
acceleration under Section 18 unless Appileable Law provides otherwise). The motive shall specify: (a)
the default; (b) the action required to cure the default: () a date, not less than 30 days from the date
the notice is given to Borrower, by which the defanlt must bo cured; and (@) that failure to cure the
efault on or before the date specified in the notice may result in aceeferation of the sums secured by
this Security Instrument, foreclosure by judicial Proceeding and sale of the Property. The notice shati
further inform Borrower of the right to reinstate after acceforation and the right to assert in the
foreclosure proceeding the non-existence of a default or any other defense of Borrower to acceleration
and foreclosure, I? the default ts not cured on or before the date specified In the notice, Lender at its
option may require immediate payment in ful of all sums secured by this Security Instrument
without further demand and may foreclose this Security Instrument by judicial proceeding. Lender
shall be entitied to collect all expenses incurred in pursuing the remeiles provided In this Section 22,
including, but not limited to, costs of title evidence.

Lender shall be entitled to colfect all reasonable expenses incurred in pursaing the remedies
provided in this Section 22, including, but not limited to, reasonable attorneys’ fees, to the extent

allowed by Applicable Law.

23, Release, Upon payment of all sums secured by this Security lastrument, Leader shall release this
Security Instrument, Lender may charge Borrower a fee for seleasing this Security Unsirment, but caly if
the fee is paid to a third party for services rendered and the charging of tha fee is permitted under
Applicable Law.

24. Waiver of Redemption. Borrower waives all rigtts of tedemption to the extent allowed by law.

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BY SIGNING BELOW, Borrower accepts and
Security Instrument and in any Rider cxocued by Borrower eed coos coves Contalnnd in this

 

 

 

 

 

 

 

 

 

Witnesses:
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STATE OF KANSAS, crawford County - 037 County sz:

BB IT REMEMBERED, thet on this 4th diy of Novaxbex, 2005
before me, the undessigned, a Notary Public in and for the Co oresald, personally appeared
JENNIFER NICOLE TRISH, A SINGLE PERSON my and State af , ¥

to ms personally known to be the same person(s) who executed the abo and fo: instrument f

writing, and duly ecknowtedged the execution of sane. ° regoing of

sbov IN WITNESS WHEREOF, J have hereunto set my hand and Notaria} Seal on the day and year last
ce written,

My Conunission Expires: ( | Seca,

  

wm J)

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FILED

32,
IN THE DISTRICT COURT OF CRAWFORD COUNTY, KANSAS
eau oF UST
GNB MORTGAGE COMPANY CS BEAIN TIFF
el ~
Bi ———"Gase No. 1SCV112
Div. No.
ag K.S.A. 60
, Mortgage
Foreclosure
JENNIFER IRISH A/K/A JENNIFER
NICOLE IRISH;
JOHN DOE, (REAL NAME UNKNOWN);
MARY DOE, (N/K/A AUDREY
GRAHAM);
UNKNOWN SPOUSE OF JENNIFER
IRISH; DEFENDANTS

JOURNAL ENTRY OF JUDGMENT

 

NOW ON THIS \ | day of ( | li cla , 2016, the above entitled matter comes on
for disposition. Plaintiff appears by its attorneys, Shapiro & Kreisman, LLC. The Defendant,
Jennifer Irish a/k/a Jennifer Nicole Irish, was residentially served on December 3, 2015, at 505
N. Summit, Girard, KS 66743 by Aristocrat Process Servicing, The Defendant, Mary Doe,
(n/k/a Audrey Graham), was residentially served on January 24, 2016, at 505 N. Summit, Girard,
KS 66743 by Aristocrat Process Servicing. The Defendant, Unknown Spouse of Jennifer Irish,
was served on December 10, 2015 by Publication, The Defendants, Jennifer Irish a/k/a Jennifer
Nicole Irish, Mary Doe, (n/k/a Audrey Graham) and Unknown Spouse of Jennifer Irish, appear

not and are in default. The Defendant, John Doe (Real name unknown) is not in possession of

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EXHIBIT

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the subject property per the Sheriffs Returns on file herein, and should be and hereby is
dismissed.

The Court, after examining the files and records herein and being fully advised in the
premises, considers and finds that all of the defendants named herein were duly and properly
served with process as provided by law; that said service is in conformity with the law and
should be, and hereby is, by the Court approved and confirmed. The Court finds that it has
jurisdiction of all the parties to this action and of the subject matter thereof and that the case is
ready for judgment.

Thereupon, the Court, having examined the pleadings and heard the statements of counsel
and being fully advised in the premises, finds generally in favor of the plaintiff and against the
defendants, and each of them; and finds that all of the allegations contained in plaintiff's petition
are true and correct, that the plaintiff is the legal holder of the note and mortgage more fully
described in plaintiffs petition and that plaintiff is entitled to the relief prayed for in its petition.

The Court further finds that there has been a default in the terms and conditions of the
note and mortgage as more particularly alleged in the plaintiff's petition; that there is due
plaintiff on said note and mortgage the principal sum of $74,917. 13 with interest thereon at the
rate of 6.375 percent per annum from June 1, 2015, until paid, and an additional $1,082.36 due
and owing as represented by a negative escrow account balance and/or advances including
$300.00 advanced for title evidence, together with those sums which plaintiff has advanced or
may hereafter advance for taxes, insurance or otherwise, including reasonable attorney’s fees,
and court costs incurred herein in the amount of $560.00, and further costs accruing which will

be enumerated in the Sheriff's Retum and approved in the Confirmation of Sale.

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The Court further finds that judgment should be entered against all the defendants herein
named for foreclosing plaintiffs mortgage; that plaintiff's mortgage is a first and prior lien upon
the real property located in Crawford County, hereinafter described:

LOTS NUMBERED SIXTY-FIVE (65) AND SIXTY SIX (66) IN WINSTON-PARK |

ADDITION, A SUBDIVISION OF BLOCK TEN (10) HULL'S ADDITION TO THE

CITY OF GIRARD, KANSAS, ACCORDING TO THE RECORDED PLAT

THEREOF. Commonly known as 401 W. Wilson St., Girard, Kansas 66743

IT IS, THEREFORE, BY THE COURT CONSIDERED, ORDERED, ADJUDGED
AND DECREED that the plaintiff have and recover judgment upon its note and mortgage in the
principal sum of $74,917.13, together with interest at the rate of 6.375 percent per annum from
June 1, 2015, unti! paid, and an additional $1,082.36 represented by a negative escrow account
balance and/or advances including $300.00 for title evidence, together with those sums which
plaintiff has advanced or may hereafter advance for taxes, insurance or otherwise, including
reasonable attorney’s fees, and court costs incurred herein in the amount of $560.00, and further
costs accruing which will be enumerated in the Sheriff's Return and approved in the
Confirmation of Sale, and said judgment is hereby entered against the defendant, Jennifer Irish
a/k/a Jennifer Nicole Irish, in personant.

IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED AND
DECREED that the subject property is the homestead of the Defendant.

IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED AND
DECREED that the judgment heretofore rendered and plaintiff's mortgage is a first and prior lien
upon the above described real estate, and that judgment is hereby entered against all of the

defendants foreclosing said mortgage.

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IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED AND
DECREED that if the foregoing judgment is not paid in fourteen days that the Clerk of the
District Court of Crawford County, Kansas, shall issue an Order of Sale, directed to the Sheriff
of Crawford County, Kansas commanding him to advertise and sell the above described real
estate without appraisement, at public auction, according to law, and upon confirmation of said
sale to issue to the purchaser thereof a Certificate of Purchase as provided by law and apply the
proceeds derived from said sale in the following manner, to wit:

1, To the payment of the costs of this action and of said sale;

2. To the payment of all special assessments and real estate taxes found to be levied
and due against said real property;

3. To the payment of the judgment of the plaintiff, with interest thereon, all as above
set out; and

4, The remainder, if any, is to be paid into Court, subject to the further order of the
Court,

IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED AND
DECREED that the mortgage and judgment lien of the plaintiff is superior and prior to all of the
rights of each and every one of the defendants herein, and that they, and all persons claiming by,
through or under them, be and hereby are forever barred, foreclosed and precluded from
asserting any right, title, interest, claim, estate or lien of any nature, kind or character, in or to the
real property above described, subject only to the right of redemption from the Sheriff's Sale
within three (3) months from the date thereof, less than one-third of the mortgage indebtedness
having been paid,

IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED AND
DECREED that upon the confirmation of the Sheriff's sale hereinbefore ordered, the Sheriff of

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Crawford Co ty shall issue to the purchaser at said sale a Certificate.of Purchase, as provided
by Jaw; and in real property is not redeemed within three months from the date of said sale,
that the then Sheriff of Crawford County, upon surrender of said Certificate of Purchase, shall
issue and deliver to the holder thereof a good and sufficient Sheriff's Deed, conveying to said
holder the realjproperty above described; and that upon application of the grantee named in said
Sheriff's Deed} or assigns, a Writ of Assistance issue out of this court to place said grantee, or

assigns, in fulll complete and peaceful possession of said real property.
IT IS FURTHER ORDERED that in the event the above described property is abandoned

 

or becomes varant, the Plaintiff, or its.assigns, may secure said property to prevent waste.

| JUDGE OF THE DISTRICT COURT

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t

 

Submitted by: :

SHAPIRO & KREISMAN, LLC

Attorneys for Plaintiff

4220 Shawnee|Mission Parkway ~ Suite 418B
Fairway, KS 66205

(913)831-3000

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Our File No. 1.008662

      
  

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